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                  IN THE UNITED STATES DISTRICT COURT
              IN AND FOR THE MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

ALLISON OSMOND f/k/a
ALLISON NEAL,

      Plaintiff,

v.                                              Case No.: 6:17-cv-01121-GAP-KRS

CREDIT ONE BANK, N.A.,

      Defendant.
_________________________________/

                        NOTICE OF PENDING SETTLEMENT

      Defendant, Credit One Bank, N.A., (Credit One), by and through undersigned

counsel, hereby submits this Notice of Pending Settlement and states the parties have

reached a settlement with regard to this case and are presently drafting, finalizing, and

executing the formal settlement documents. Upon full execution of the same, the parties

will file the appropriate dismissal documents with the Court.

Dated: February 2, 2018

                                         Respectfully submitted,

                                         /s/ Michael P. Schuette
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                                          Attorneys for Defendant,
                                          Credit One Bank, N.A.

                             CERTIFICATE OF SERVICE

       I certify that on this 2nd day of February 2018, a copy of the foregoing was filed

electronically in the ECF system. Notice of this filing will be sent to the parties of record

by operation of the Court’s electronic filing system, including Plaintiff’s counsel as

described below. Parties may access this filing through the Court’s system.

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                                          /s/ Michael P. Schuette
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